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                             UNITED STATES DISTRICT COURT
                                            District of Minnesota


Lynda L. Pelletier,
                                                          JUDGMENT IN A CIVIL CASE
                                        Plaintiff,
v.
                                                                  Case Number: 14-2800 (DWF/LIB)
United States of America,

                                    Defendant(s).


     Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
     has rendered its verdict.

X Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or
  heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED THAT:

     All of Plaintiff’s claims in the above-captioned cause of action are DISMISSED WITH
     PREJUDICE on the merits, without costs or disbursements to any party.


Date: 04/21/2015                                                     RICHARD D. SLETTEN, CLERK

                                                                                s/M. Price
                                                           (By)                     M. Price, Deputy Clerk
